          Case 2:06-cr-00149-RSM         Document 180       Filed 09/08/06     Page 1 of 3




 1
 2
 3
 4
 5                          UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF WASHINGTON
 6                                   AT SEATTLE
 7
    UNITED STATES OF AMERICA, )
 8                               )
                Plaintiff,       )                CASE NO.      CR06-149 RSM
 9                               )
           v.                    )
10                               )
                                 )                DETENTION ORDER
11 TERRY T. RAYMOND,             )
                                 )
12              Defendant.       )
   ______________________________)
13
     Offense charged:
14
              Conspiracy to Distribute Heroin and Cocaine.
15
     Date of Detention Hearing: September 6, 2006
16
              The Court, having conducted a uncontested detention hearing pursuant to Title 18
17
     U.S.C. § 3142(f), and based upon the factual findings and statement of reasons for detention
18
     hereafter set forth, finds that no condition or combination of conditions which the defendant
19
     can meet will reasonably assure the appearance of the defendant as required and the safety
20
     of any other person and the community. The Government was represented by Tate London
21
     for Sarah Vogel. The defendant was represented by Allen Ressler.
22
          FINDINGS OF FACT AND STATEMENT OF REASONS FOR DETENTION
23
              (1)    There is probable cause to believe the defendant committed the drug
24
                     offense. The maximum penalty is in excess of ten years. There is
25
                     therefore a rebuttable presumption against the defendant’s release based
26


     DETENTION ORDER
     PAGE -1-
        Case 2:06-cr-00149-RSM       Document 180      Filed 09/08/06     Page 2 of 3




 1               upon both dangerousness and flight risk, under Title 18 U.S.C. §
 2               3142(e).
 3         (2)   The defendant is serving a state sentence.
 4         (3)   Due to the nature of the instant offense, defendant poses a risk of danger
 5               to the community.
 6         (4)   Defendant stipulates to detention at this time.
 7         It is therefore ORDERED:
 8         (l)   The defendant shall be detained pending trial and committed to the
 9               custody of the Attorney General for confinement in a correction facility
10               separate, to the extent practicable, from persons awaiting or serving
11               sentences or being held in custody pending appeal;
12         (2)   The defendant shall be afforded reasonable opportunity for private
13               consultation with counsel;
14         (3)   On order of a court of the United States or on request of an attorney for
15               the Government, the person in charge of the corrections facility in which
16               the defendant is confined shall deliver the defendant to a United States
17               Marshal for the purpose of an appearance in connection with a court
18               proceeding; and
19         (4)   The clerk shall direct copies of this order to counsel for the United
20               States, to counsel for the defendant, to the United States Marshal, and to
21               the United States Pretrial Services Officer.
22         DATED this 8th day of September, 2006.
23
24
25
26
                                                    A
                                                    MONICA J. BENTON
                                                    United States Magistrate Judge
     DETENTION ORDER
     PAGE -2-
        Case 2:06-cr-00149-RSM   Document 180   Filed 09/08/06   Page 3 of 3




 1
 2
 3
 4
 5
 6
 7
 8
 9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26


     DETENTION ORDER
     PAGE -3-
